    Case 2:10-md-02179-CJB-DPC Document 12510 Filed 03/13/14 Page 1 of 11




                                UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA



In re:   Oil Spill by the Oil Rig “Deepwater            :   MDL No. 2179
         Horizon” in the Gulf of Mexico, on April 20,   :
         2010                                               SECTION: J
                                                        :
                                                            JUDGE BARBIER
                                                        :
This Document Relates to: 10-4536                           MAG. JUDGE SHUSHAN
                                                        :
…………………………………………………...




                           CLEAN WATER ACT – PENALTY PHASE



  UNITED STATES’ REPLY TO BPXP’S OPPOSITION TO MOTION IN LIMINE TO
  PERMIT RELEVANT EVIDENCE CONCERNING BP P.L.C. AND ITS AFFILIATES
     Case 2:10-md-02179-CJB-DPC Document 12510 Filed 03/13/14 Page 2 of 11




                                                          Table of Contents

Table of Authorities ........................................................................................................................ ii



I. BPXP’S Opposition Demonstrates that BP p.l.c. and Affiliates Should Be Considered for
Penalty Purposes ............................................................................................................................. 1



II. BP’S Position That Its Affiliates Are Relevant Only to the Mitigation Penalty Factor Is Not
Supported by the Statute or Case Law ............................................................................................ 3



III. BP Inaccurately Characterizes the Positions of the Parties ...................................................... 5




                                                                       i
     Case 2:10-md-02179-CJB-DPC Document 12510 Filed 03/13/14 Page 3 of 11




                                                         Table of Authorities

Cases

Atlantic States Legal Found. Inc v. Universal Tool & Stamping Co.,
786 F. Supp. 743 (N.D. Ind. 1992) ................................................................................................. 4

Bond Pharm., Inc v. Anazaohealth Corp., No. 3:11-CV-58-CWR-FKB, 2012 WL 3052902
(S.D. Miss. July 25, 2012) .............................................................................................................. 5

Idaho Conservation League v. Atlanta Gold Corp., 879 F. Supp. 2d 1148 (D. Idaho 2012) ......... 4

In re: Carroll Oil Co., 10 E.A.D. 635, Docket No. 8-99-05, 2002 WL 1773052 (EAB 2002) ....... 4

In re: New Waterbury, Ltd., 5 E.A.D. 529, Docket No. TSCA-I-88-1069, 1994 WL 615377
(EAB 1994) .................................................................................................................................... 4

PIRG v. Powell Duffryn Terminals, Inc., 720 F. Supp. 1158 (D.N.J. 1989), rev'd on other
grounds, 913 F. 2d 64 (3d Cir. 1990).............................................................................................. 4

Public Interest Research Group of New Jersey v. Magnesium Elektron, Inc., No. 89-3193 (JCL),
1995 WL 461252 (D. N.J. Mar. 9, 1995) ........................................................................................ 4


United States v. Citgo Petroleum Corp., Civil Action No. 2:08-cv-0893, 2011 WL 10723934
(W.D. La. Sept. 29, 2011, rev'd 723 F. 3d 547 (5th Cir. 2013) ...................................................... 4

United States v. Kirk, Criminal No. SA11-CR-449(2)-DAE, 2013 WL 6198221
(W.D. Tex. Nov. 27, 2013) ............................................................................................................. 5

United States v. Municipal Auth. of Union Township, 150 F. 3d 259 (3d Cir. 1998) .............. 1, 4




                                                                       ii
     Case 2:10-md-02179-CJB-DPC Document 12510 Filed 03/13/14 Page 4 of 11




Statutes

33 U.S.C. § 1321(b)(8) ................................................................................................................ 1,4



Rules

Fed. R. Evid. 103 ............................................................................................................................ 5



Other Authorities

Wright & Graham, 21 Fed. Prac. & Proc. Evid §§ 5037.4, 5037.10 and 5037.15 (2d ed. 2005) .. 5




                                                                      iii
     Case 2:10-md-02179-CJB-DPC Document 12510 Filed 03/13/14 Page 5 of 11




        To fashion a civil penalty that achieves the statutory purposes of Section 311(b)(8) of the

Clean Water Act (“CWA”) - deterrence and retribution - the Court should consider the actions of

the BP Group.1 It is clearly within the Court’s discretion to consider BP Exploration and

Production, Inc.’s (“BPXP”) affiliates in fashioning a penalty, as the courts did in United States

v. Municipal Authority of Union Township (“Dean Dairy”), 150 F. 3d 259 (3rd Cir. 1998), and

similar cases. Since BPXP is staffed by and relies on BP p.l.c. and other BP affiliates in order to

carry out drilling and mineral extraction in the Gulf of Mexico, no other course fits the facts.

The record demonstrates that the BP Group, not simply BPXP, was deeply involved in the

Macondo well both before and after the disaster. Nothing in BPXP’s Opposition to the United

States’ Motion counters this critical fact.

I.    BPXP’s Opposition Demonstrates that BP p.l.c. and Affiliates Should be Considered
      for Penalty Purposes.
        In its Opposition, BPXP contends that BPXP is separate from the other entities within the

BP Group and “has a distinct corporate identity and set of operations.” (BP Br. at 4). None of

the evidence that BPXP cites in support of this proposition was produced in discovery or placed

into the trial record. Instead, BPXP relies solely on a statement in its 2013 Annual Report that

was signed the same day as its Opposition was filed.2 The record in this litigation contradicts

BPXP’s position, and, as set forth in detail in the U.S. MIL on Affiliates, demonstrates that BP’s

operations do not match its corporate structure. BPXP solely functions as an entity that holds

1
 The BP Group is defined as “BP p.l.c and its subsidiaries.” Ex. # 1 to the United States’ Motion in Limine to
Permit Relevant Evidence Concerning BP p.l.c. and its Affiliates, Rec. Doc. 12355-4 (U.S. MIL on Affiliates),
(BP Annual Report at 3, TREX-06833).
2
  BP’s 2013 Annual Report states that “BPXP is the Group company that conducts exploration and production
operations in the Gulf of Mexico.” (Rec. Doc. 12465-5 at 39, 281). BP’s previous annual reports did not
contain this statement. Ex. #1 (BP Annual Report for 2012, at 162-169); Ex. #2 (BP Annual Report for 2011
at 160-163). However, even BP’s 2013 Annual report makes clear that everything at issue in this case is
overseen by the BP Group, not BPXP. (Rec. Doc. 12465-5 at 49-50).
                                                      1
    Case 2:10-md-02179-CJB-DPC Document 12510 Filed 03/13/14 Page 6 of 11




leases,3 not as an active business organization that directs operations.4 Indeed, in its Initial

Disclosures, of the 19 BP individuals listed by BP as likely to have discoverable information,

only three are identified as having roles solely with BPXP.5

        In fact, for the first time in this litigation, BPXP admits that “[BPXP] maintains no

payrolled employees.” BP asserts that it “expects the evidence will show that BPXP generally

is charged, and BPAP [BP America Production Company] credited, for personnel costs

associated with the work performed on BPXP operational assets by BPAP payrolled employees.”

BP Br. at 4 (emphasis added). Since BPXP has no employees, all functions were and are

performed by other BP entities.6 BPXP contends it plans to introduce evidence showing that it

“marshalled resources for the response effort and in doing so bore the vast majority of the cost of

the response personnel and resources of other BP affiliates.” (BP Br. at 2). BPXP did not

“marshal” the response effort.7 Rather, as described in the United States’ MIL on Affiliates,



3
  None of the listed members of the BPXP board of directors have played any role in this litigation. Rather
they appear to be professional board servers for the BP Group. Brenda Pennington, for instance, serves on the
boards of directors of 45 BP corporate affiliates. See Ex. #3 (Brenda Pennington Spreadsheet). Further,
according to State filings, BPXP board has three not six directors, as BPXPs brief states. See Ex. #4
(Delaware Filings).
4
 Mr. Lamar McKay testified while BPXP held leases, “the operating structure, the way you manage all the
assets, is organized in businesses that don't perfectly match this legal entity structure.” See U.S. MIL Affiliates,
See Rec. Doc. 2355-15 (MacKay, TR 594:17-596:6).
5
 See, Ex. #5 (BPXP Initial Disclosures). Twelve individuals are listed as employed solely by BP p.l.c. or other
BP affiliates. The two potential witnesses listed for economic impact on the violator are BP p.l.c. treasurers.
Three are listed as having roles with both the Gulf Coast Restoration Organization (“GCRO”) and BPXP.
6
 For example, BP argued in insurance litigation with Transocean (“TO”) that BP was entitled to insurance
proceeds from the TO policies, defining BP to include the corporate chain from BPXP up to BP p.l.c. See
Ex.#9 (BP Brief at 1 n.2). BP also argued that it paid for the TO insurance coverage by bargaining for TO to
pay premiums for both parties. See, Ex. #10 (BP Reply Brief at 4-5).
7
  See, Rec. Doc. 12465-7. The General Service Agreement between BPXP and BPAP, produced for the first
time in BPXP’s Opposition does not support the claim that BPXP “marshaled” the personnel and resources of
BP affiliates. The Agreement states, “the Services to be provided [must] be … mutually agreed upon.” Id.
                                                       2
      Case 2:10-md-02179-CJB-DPC Document 12510 Filed 03/13/14 Page 7 of 11




after the disaster, BP p.l.c. formed the Gulf Coast Restoration Organization (“GCRO”) to

manage and fund the response action.8 Thus, to reach the corporate behavior that is to be

deterred, the Court should exercise its discretion to consider evidence concerning BP p.l.c. and

other BP affiliates.

         BP’s view that BPXP must be the focus of the litigation (at least for select penalty

factors) will increase discovery and complicate the trial. There is virtually nothing on the record

concerning transactions with BPXP because BP was not forthcoming on this issue in response to

Phase I discovery see, US MIL on Affiliates at 9-10. Since BP files consolidated financial

statements, there is no public financial information available on BPXP or any other subsidiary.

II.    BP’s Position that Its Affiliates are Relevant Only to the Mitigation Penalty Factor is
       Not Supported by the Statute or Case Law.
         Illogically, BP maintains that “to the extent that BPXP utilized personnel and resources

from certain of its corporate affiliates, those entities may become relevant only to the mitigation

factor.” BP Br. at 2. BP erroneously contends that its positions are consistent with the language

of the specific CWA penalty factors. But the one factor for which BP argues the Court should

consider the conduct of all BP entities – the mitigation factor – is one of the few that is expressly




Further, the BP Group is so intertwined that the Amendment to the Service Agreement is signed by the same
person for both BPAP and BPXP.
Nor did BPXP employees did lead the response. US MIL on Affiliates at 6-7; Ex. #6 (Hayward Depo. 804:11-
805:4, testifying – under questioning by counsel for BP- that he led the response). Indeed, BP’s own
advertising campaigns suggest the BP Group is directing efforts. See
http://www.youtube.com/watch?v=LLBTT7Mvk2Q http://www.linkedin.com/pub/jonathan-parker/55/639/29a;
http://www.publicintegrity.org/2011/04/20/4269/bps-iris-cross-starred-two-disaster-pr-campaigns.
8
  BPXP also suggests the United States incorrectly asserted that BP p.l.c. said that it would pay all legitimate
claims, including civil penalties resulting from the incident. However, BP p.l.c.’s Annual Reports have
consistently stated that “BP” not “BPXP” will pay whatever civil penalties are awarded under the CWA. See
Ex. #7 (BP Annual Report for 2010 at 38); Rec. Doc. 12465-5 (BP Annual Report for 2013 at 40, 140, 142).
                                                        3
      Case 2:10-md-02179-CJB-DPC Document 12510 Filed 03/13/14 Page 8 of 11




limited to the “violator.”9 The fact is that the BP Group has staffed, funded, and run the response

just as it has staffed, funded, and run BPXP in general. This is precisely the type of evidence

that is relevant to determining the impact of the penalty on the violator.10

           The role of BP p.l.c. and affiliates is central to the actions and finances of BPXP, as was

the case in United States v. Municipal Authority of Union Township (“Dean Dairy”), 150 F.3d

259 (3rd Cir. 1998), and similar cases.11 Contrary to BP’s assertion, case law in the Fifth Circuit

supports the consideration of a parent’s finances when evaluating the economic impact factor.

See United States v. Citgo Petroleum Corp., 2011 WL 10723934 (W.D. Sept. 29, 2011), vacated

and remanded, 723 F.3d 547 (5th Cir. 2013). The evidence shows, as was the case in Dean

Dairy, that BPXP paid dividends to BP p.l.c. in the years preceding the Macondo disaster.12

BPXP states “the evidence will show that BPXP has neither declared nor paid a dividend in any

form to any parent or affiliate company since April 20, 2010.” But BP’s statement glaringly

omits mention of dividends paid before the incident.



9
  That factor provides “the nature, extent, and degree of success of any efforts of the violator to minimize or
mitigate the effects of the discharge.” See also, Rec. Doc. 12460 at 22. The penalty factors “any history of
prior violations,” “degree of culpability,” or “other matters as justice may require” do not include statutory
language restricting the Court’s consideration to the “violator.” 33 U.S.C. § 1321(b)(8).
10
     For example, other BP entities made payments to the Coast Guard for response costs See, e.g., Ex. #8.
11
   As the Third Circuit reasoned “[t]he consideration of a parent's financial condition in assessing a penalty on
a subsidiary is a far cry from piercing the corporate veil and holding the parent liable for the actions of its
subsidiary; here the penalty was assessed against the subsidiary alone.... The court simply undertook a fact-
specific assessment that examined the role of the parent in the operations of the subsidiary, particularly with
regard to the issue of pollution of the nearby waters and actions that could have resolved it.” Dean Dairy, at
268-269. See also Idaho Conservation League v. Atlanta Gold Corp., 879 F. Supp. 2d 1148, 1170 (D. Idaho
2012); Public Interest Research Group of New Jersey v. Magnesium Elektron, Inc., 1995 WL 461252 *19
(D.N.J.); Atlantic States Legal Found. Inc v. Universal Tool & Stamping Co., 786 F. Supp. 743, 753 (N.D. Ind.
1992); PIRG v. Powell Duffryn, 720 F. Supp. 1158, 1166 (D.N.J. 1989); In re Carroll Oil Company, 2002 WL
1773052 (E.P.A.); In re: new Waterbury, Ltd, 1994 WL 6153777 (E.P.A.).
12
     In 2009, BPXP was asked to produce $7 billion for dividends to BP p.l.c. (Rec. Doc 12460 at 9, ft 31, 32).
                                                         4
      Case 2:10-md-02179-CJB-DPC Document 12510 Filed 03/13/14 Page 9 of 11




III.      BP Inaccurately Characterizes the Positions Taken by the Parties.
          Contrary to BP’s assertions, the United States does not seek a ruling that is premature,

sweeping, or vague. BP Br. at 1. In its MIL on Prior Incidents, BP has asked the Court to

categorically exclude any evidence related to a number of penalty factors, beyond matters

involving BPXP under Section 311 of the CWA. The United States simply seeks a similar

categorical ruling that evidence regarding other BP entities can be considered. It does not at this

time seek a ruling that any specific evidence should be admitted at trial. U.S. MIL Aff. at 2-3.13

          BPXP now admits that some evidence relating to the BP Group may be relevant to the

economic impact of the penalty. BP Br. at 2, 7-8. In prior negotiation of this issue, however,

BP unfairly offered to provide a limited set of “sufficient to show” financial documents from

BPXP and its affiliates, contingent on the United States agreeing “that the roles and activities of

BPXP and its affiliates in the DWH are relevant to the ‘mitigation factor,’” and forgoing its other

requests for information from BPXP and its affiliates. BP Br. at 2, Rec. Doc. 12465-1. Contrary

to BP’s assertion, the United States did not “reject outright” BP’s offer to provide such

information, but responded that it could not agree to BP’s proposal “unless BP [could] also agree

that the roles and activities of BPXP and its affiliates are relevant to other penalty factors.”14




13
   It is well-established that motions in limine may be used to secure a pretrial ruling that certain evidence is
admissible. Revised Fed. R. Evid. 103 permits definitive motions in limine whether they are seeking a ruling
either “admitting or excluding” the evidence. A motion in limine may be an appropriate way of ruling on a
particular topic, not only on a specific bit of testimony or a single document. See United States v. Kirk, 2013
WL 6198221 *1-2 (W.D. Tex.); Bond Pharmacy, Inc v. Anazaohealth Corp., 2012 WL 3052902 (S.D. Miss.)
*2; Wright & Graham, 21 Fed. Prac. & Proc. Evid §§ 5037.10, 5037.15, 5037.4 (2d ed. 2005).
14
     See, Rec. Doc. 12465-3.


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   Case 2:10-md-02179-CJB-DPC Document 12510 Filed 03/13/14 Page 10 of 11




                                         Respectfully submitted,



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   Case 2:10-md-02179-CJB-DPC Document 12510 Filed 03/13/14 Page 11 of 11




                                    CERTIFICATE OF SERVICE

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